                                      Case 3:17-cv-01999-MMA-BGS Document 7 Filed 11/16/17 PageID.193 Page 1 of 2


                                     1      Christopher W. Bayuk, Esq. (State Bar No. 121751)
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                                     3
                                            E-mail: cbayuk@bayuklaw.com
                                     4      T: (530) 903-3160
                                            F: (877) 266-0963
                                     5
                                            Attorneys for PLAINTIFF:
                                     6      ANGELA JENKINS

                                     7

                                     8                                  UNITED STATES DISTRICT COURT
                                     9
                                                                     SOUTHERN DISTRICT OF CALIFORNIA
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5170 G olde n Foothills Pa r kwa y
BAYUK & ASSOCIATES, INC.




                                     13
  El Dorado Hills, CA 95762




                                                                                            Case #: 3:17-cv-01999 MMA BGS
       Attorneys at Law




                                     14                                                     PLAINTIFF’S UNOPPOSED REQUEST FOR
                                                                                            PLAINTIFF’S COUNSEL TO APPEAR
                                     15     ANGELA JENKINS                                  TELEPHONICALLY AT THE HEARING ON
                                                                                            DEFENDANT’S MOTION TO COMPEL
                                     16                   PLAINTIFF (S),                    ARBITRATION
                                     17     V.
                                                                                            Date:           December 4, 2017
                                     18                                                     Time:           2:30 p.m.
                                            STERLING JEWELERS, INC., AND DOES 1             Judge:          Hon. Michael M. Anello
                                     19     THROUGH 10, INCLUSIVE                           Courtroom:      3D
                                     20

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                                     22            TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                     23     Christopher W. Bayuk, counsel for Plaintiff, Angela Jenkins, hereby requests that he be
                                     24     permitted to appear telephonically at the hearing on Defendant Sterling Jewelers, Inc’s.,
                                     25     Alternative Motion to Compel Arbitration and/or Stay Action, presently set for December 4,
                                     26     2017, at 2:30 p.m. in Courtroom 3D of the above-titled Court.
                                     27
                                                                                           1
                                     28
                                                                    Application & Reguest to Appear by Telephone
                                                                               3:17-cv-0199 MMA BGS
                                      Case 3:17-cv-01999-MMA-BGS Document 7 Filed 11/16/17 PageID.194 Page 2 of 2


                                     1             Mr. Bayuk is scheduled to be in Central Oregon from November 30, 2017 through
                                     2      December 5, 2017, attending to family matters. Mr. Bayuk hereby respectfully requests that the
                                     3      Court permit him to appear by telephone at the hearing.
                                     4             Counsel can be reached at his direct line: (619) 787-6620. Plaintiff’s counsel conferred
                                     5      with counsel for Defendant, and there was no opposition to this request.
                                     6      RESPECTFULLY SUBMITTED:
                                     7

                                     8                                                             BAYUK & ASSOCIATES, Inc.
                                     9

                                     10
                                            DATED: November 16, 2017                           By: Christopher W. Bayuk
                                     11
                                                                                                  Christopher W. Bayuk, Attorney for Plaintiff:
                                     12                                                            Angela Jenkins
5170 G olde n Foothills Pa r kwa y
BAYUK & ASSOCIATES, INC.




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  El Dorado Hills, CA 95762
       Attorneys at Law




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                                                                     Application & Reguest to Appear by Telephone
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